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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO: 0-20-CV-61872-AHS

 ALAN DERSHOWITZ,

        Plaintiff,

 v.

 CABLE NEWS NETWORK, INC.,

       Defendant.
 _______________________________/


      CNN’S MOTION TO FILE REPLY IN SUPPORT OF ITS MOTION TO COMPEL
        PRODUCTION OF PRE-JANUARY 29, 2020 DOCUMENTS BY PLAINTIFF

         Defendant, Cable News Network, Inc. (“CNN”), by and through its undersigned counsel,

  respectfully moves for an order allowing it to file a brief reply memorandum in response to

  Plaintiff’s Opposition to Defendant’s Motion to Compel Production of Pre-January 29, 2020

  Documents (Dkt. No. 75) (the “Opposition”) and states as follows:

         1.      CNN recognizes this Court’s Discovery Procedures prohibit reply memoranda on

  discovery motions “unless ordered by the Court.” Accordingly, to preserve judicial economy,

  CNN’s proposed Reply Memorandum (the “Reply”) is annexed hereto as Exhibit “A”.

         2.      The Court in this case should grant leave to allow CNN to file its Reply in support

  of its Motion to Compel Production of Pre-January 29, 2020 Documents by Plaintiff (Dkt. No. 72).

         3.      The Reply will allow CNN to briefly respond to factual representations made -- for

  the first time – in Plaintiff’s Opposition. Plaintiff’s representations in his Opposition, which

  concern the existence of pre-January 29, 2020 documents that Plaintiff agreed to search for and

  produce in the course of discovery, are inconsistent with Plaintiff counsel’s admission during the



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  parties’ meet-and-confers that he had not reviewed a single email of Plaintiff’s from prior to

  January 29, 2020. CNN’s reply does not present new evidence or legal arguments. Rather, it alerts

  the Court to a critical inconsistency between this statement and the evidence already submitted to

  the Court with CNN’s moving papers.

         4.      On February 7 and 8, 2022, the undersigned counsel for CNN conferred with

  Plaintiff’s counsel regarding the relief requested in this motion, and Plaintiff’s counsel advised

  that Plaintiff takes no position on this motion and leaves it to the court’s discretion.

         WHEREFORE, Cable News Network, Inc., requests that this Court grant it leave to file a

  Reply, annexed hereto as Exhibit “A”, in response to Plaintiff’s Opposition to Defendant’s Motion

  to Compel Production of Pre-January 29, 2020 Documents and grant any other relief, as is just,

  equitable and proper.

                                   CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that a true and correct copy of the fore/ going has been filed and

  served via the Court’s CM/ECF portal on this 8th day of February, 2022 to Brian M. Rodier, Esq.,

  bmrodier@rodierlegal.com; Rodier & Rodier, P.A., Counsel for Plaintiff, 400 N. Federal

  Highway, Hallandale, Florida 33009.

                                                 DAVIS WRIGHT TREMAINE LLP

                                                 By: /s/ Katherine M. Bolger
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                                           EXHIBIT “A”

                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO: 0-20-CV-61872-AHS

 ALAN DERSHOWITZ,

        Plaintiff,

 v.

 CABLE NEWS NETWORK, INC.,

       Defendant.
 _______________________________/

      [PROPOSED] CNN’S REPLY MEMORANDUM IN SUPPORT OF ITS MOTION TO
           COMPEL PRODUCTION OF PRE-JANUARY 29, 2020 DOCUMENTS

         Defendant, Cable News Network, Inc. (“CNN”), by and through its undersigned counsel,

  hereby submits this Reply to respond to a single but critical point raised in Plaintiff’s Opposition

  to Defendant’s Motion to Compel Production of Pre-January 29, 2020 Documents (Dkt. No. 75)

  (the “Opposition”) – namely, its new representation regarding the existence of documents sought

  by the CNN’s Motion. CNN’s Reply is as follows:

         In the Opposition, Plaintiff admits that he agreed to produce several categories of

  documents dating back to 2016 and earlier, see, e.g., Opposition at p. 2, yet argues that CNN’s

  Motion constitutes “another bite at the apple” because it should have been understood that his

  production would not include any documents before January 29, 2020. Id. The Court should

  disregard Plaintiff’s insistence on an ever-narrowing, convenience-driven definition of

  “relevance,” and CNN will not belabor the point here. One point raised by Plaintiff in his

  Opposition, however, merits specific response, because it contradicts factual representations made

  by Plaintiff’s counsel during the parties’ meet-and-confers.


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         Specifically, in the Opposition, Plaintiff admits that he agreed to produce documents

  responsive to CNN’s First RFP No. 29, which asked for documents and communications “relating

  to [Plaintiff’s] statements [in a 2018 Washington Post article] that [he was] ‘shunned’ as a result

  of [his] defense of former President Donald Trump” (ECF No. 52-2 at 26-27 [Ex. B at 8-9]). These

  documents are highly relevant to rebutting Plaintiff’s damages claims and establishing that

  Plaintiff’s asserted reputational and emotional damages long predated CNN’s Challenged

  Statements and were the consequence of Plaintiff’s own choices.

         In the Opposition, Plaintiff now claims for the first time that “there are no documents”

  responsive to First RFP No. 29 (Opposition at p. 3). Yet, in the parties’ meet-and-confers,

  Plaintiff’s counsel admitted without reservation that he did not search for or review a single

  document predating January 29, 2020. An email filed as Exhibit “C” to CNN’s Motion (Dkt. No.

  72 at 15) memorializes this exchange (“We asked if you searched for emails from before [January

  29, 2020]. You indicated you had not.”) and makes clear that Plaintiff’s failure to perform this

  search would be the subject of a motion to compel. Plaintiff’s counsel never corrected CNN’s

  understanding. Indeed, the fact that Plaintiff did not produce a single document from before

  January 29, 2020 is itself evidence that no search was performed on documents from before this

  date. This court need not, therefore, take Plaintiff’s newfound representations regarding this one

  category of documents at face value.

         Plaintiff has not produced any documents dated before January 29, 2020, and has made it

  clear (during the parties’ meet and confer) that – in spite of his agreement to produce earlier

  documents – he has no intention of searching for documents created or received before that date.

  For the reasons set forth in CNN’s Motion, this Court should compel Plaintiff to search and

  produce documents dated before January 29, 2020. Plaintiff chose to commence this action – he



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  should be required to take part in it.

                                    CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that a true and correct copy of the foregoing has been filed and

  served via the Court’s CM/ECF portal on this __th day of February, 2022 to Brian M. Rodier, Esq.,

  bmrodier@rodierlegal.com; Rodier & Rodier, P.A., Counsel for Plaintiff, 400 N. Federal

  Highway, Hallandale, Florida 33009.

                                              DAVIS WRIGHT TREMAINE LLP

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